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                            UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF TEXAS
                                 HOUSTON DIVISION


UNITED STATES OF AMERICA,                          §
                                                   §
           Plaintiff,                              §
                                                   §
     v.                                                   Cr. No. 4:21cr 009 GCH
                                                   §
ROBERT T. BROCKMAN,                                §
                                                   §
           Defendant.                              §
                                                   §
                                                   §


                 PARTIES’ AGREED MOTION FOR A STATUS CONFERENCE


           The United States and Defendant, by and through their respective counsel, respectfully

request a status conference with the Court in this case to address: 1) the Supplemental

Unopposed Motion to Modify Competency Hearing Scheduling Order, filed on April 19, 2021,

Dkt. No. 49 (“Proposed Revised Scheduling Order”) (which is intended by the parties to

supersede the unsigned Proposed Revised Scheduling Order submitted on March 31, 2021, Dkt.

No. 48); 2) the Agreed Motion for Protective Order, Dkt. No. 47 (“Proposed Protective Order”);

and 3) the government’s Motion for Discovery Under Rule 17(c) and 45 CFR 14.512(e)(1)(i),

Dkt. No. 26 (Government’s Discovery Motion). The parties have been working collaboratively to
allow Defendant to be examined by the government’s experts, and by agreement of the parties,

those examinations are now expected to begin on May 5. All three pending motions relate to

these examinations, and preparation for the Competency Hearing.

I.         PROCEDURAL POSTURE



           On December 8, 2020, Defendant filed a motion for a competency hearing pursuant to 18

U.S.C. § 4241. See 20-cr-371 (N.D. Cal.) (“NDCA”) Dkt. No. 64 (the “Motion”). On December

15, 2020, the government filed its response to Defendant’s Motion (the “Response”) agreeing

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that a competency hearing is appropriate in this case. See NDCA Dkt. No. 69. On January 4,

2021, this case was transferred from the Northern District of California to this Court. See NDCA

Dkt. No. 76. On February 1, 2021, this Court, on an Agreed Motion by the parties, entered a

Scheduling Order setting a Competency Hearing in this case for June 29, 2021. Dkt. No. 36.

       On January 26, 2021, the government filed a motion under Fed. R. Crim. P. 17(c) and 45

CFR § 164.512(e)(1)(i) for an Order requiring Defendant’s medical doctors, and other parties, to

provide the government with records within 30 days of service of a subpoena. Dkt No. 26. On

February 10, 2021, Defendant filed his partial opposition to the government’s Motion. Dkt. No.

41. On February 11, 2021, the government filed its Reply to Defendant’s Response. Dkt. No. 43.
       On February 17, 2021, the government filed its Notice of Experts for purposes of the

Competency Hearing. Dkt. No. 44. On February 22, 2021, Defendant filed a Response to the

government’s Notice of Expert Witnesses, together with a Motion for Protective Order. Dkt. No

45. On March 11, 2021, after the parties discussed their respective positions, the parties filed an

Agreed Motion for Protective Order, outlining proposed protocols agreed to by the parties under

which the government’s experts are to interview and examine Defendant. Dkt. No. 47.

       On March 12, 2021, Defendant underwent a PET scan which was requested by one of the

government’s experts. On the evening of Sunday, March 14, 2021, before the other tests and

examinations agreed upon by the parties could be completed, Defendant was brought to the

emergency room at Houston Methodist Hospital. He was subsequently admitted to the hospital,

and released on Friday, March 19, 2021. Following discussions between the government and

Defendant’s counsel, the parties agreed that further tests and examinations by the government’s

experts should be delayed. Accordingly, on March 31, 2021, the parties filed an Agreed Motion

requesting a revision to the Scheduling Order for the Competency Hearing, together with a

proposed revised Order. Dkt. No. 48.

       Subsequent to the March 31 filing, the parties met and conferred and reached an
agreement to propose further modification of the scheduling order to allow for additional
time between the submission of the government’s expert reports and the submission of
any expert reports offered by the defense, as well as additional time between the

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submission of any defense expert reports, and the competency hearing date. As a result
of these discussions, on April 19, 2021, Defendant filed the unopposed Proposed Revised
Scheduling Order. Dkt. No. 49.
II.    STATUS

       The initial Scheduling Order entered by the Court required the examinations and

interviews by the government’s expert witnesses to be completed by April 16, 2021, and the

expert witnesses’ reports provided to Defendant by May 7, 2021. The Competency Hearing is

currently scheduled for June 29, 2021. The parties agree that intervening events have made this

schedule untenable. The parties have agreed that before a competency hearing can be held: 1)

the government’s experts are to examine and interview Defendant (by agreement currently

scheduled for May 5th, 18th, 19th and 20th); 2) the parties agree that the protocols and

procedures for the examination and interview of Defendant by the government’s experts need to

be in place; 3) the parties need to complete discovery; and 4) the government’s experts, and any

expert that Defendant may seek to call at the Competency Hearing, need to prepare, and

exchange their reports, including all underlying testing data.

       Accordingly, the parties agree that it is in the interests of both parties to resolve these

pending matters before the government’s experts are scheduled to begin their examinations of

Defendant on May 5. Namely:



               1)      the Proposed Revised Scheduling Order, Dkt. No. 49;

               2)      the Parties’ Proposed Protective Order, Dkt. No. 47; and

               3)      the government’s Discovery Motion, Dkt No. 26.




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 Respectfully submitted this 20th day of April 2021,



                                             DAVID A. HUBBERT
                                             Acting Assistant Attorney General

                                             s/ Corey J. Smith
                                             COREY J. SMITH
                                             Senior Litigation Counsel
                                             LEE LANGSTON
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                                             Attorneys for United States of America




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                        Certificate of Conference and Service


I the undersigned do hereby certify that on April 13, 2021, and subsequently,
government’s counsel conferred with Defendant’s counsel who confirmed that they were
unopposed to this Motion. On the 20th day of April 2021 I electronically filed the
foregoing with the Clerk of Court using the ECF electronic filing system, which will send
notice of electronic filing to Defendant’s counsel of record.


                                                            /s/ Corey J. Smith
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